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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
                 v.                            :       Criminal No. 21-cr-399 (RDM)
                                               :
ROMAN STERLINGOV,                              :
                                               :
                        Defendant              :

                                              ORDER

          Upon consideration of the February 1, 2024 letter to the Court from counsel for

Ciphertrace, and the Government’s Emergency Motion In Limine for Rule 16 Expert Discovery in

Light of Disclosure that “Parts of the Ciphertrace Report Are Unreliable,” and for good cause, it

is hereby

          ORDERED, that the motion shall be granted, and that the defendant is ordered to provide

a supplemental disclosure of “a complete statement of all opinions that the defendant will elicit . . .

in the defendant’s case-in-chief” from Ciphertrace witness Jonelle Still, and “the bases and reasons

for them,” pursuant to Fed. R. Crim. P. 16(b)(1)(C)(iii), no later than February ______, 2024; it is

further

          ORDERED, that the defendant shall produce any statement of Ms. Still that relates to the

subject matter of Ms. Still’s testimony, no later than February 12, 2024.

Dated this ______ day of February, 2024.



                                       ______________________________________
                                       THE HONORABLE RANDOLPH D. MOSS
                                       UNITED STATES DISTRICT JUDGE
